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                                                                                                 2023 Oct-11 PM 03:55
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                   I‭ N THE UNITED STATES DISTRICT COURT‬
                ‭FOR THE NORTHERN DISTRICT OF ALABAMA‬
                              ‭SOUTHERN DIVISION‬

‭UNITED STATES OF AMERICA,‬ ‭)‬
                               ‭)‬
 ‭v.‬                           ‭)‬                    ‭Case No. 2:23 cr-00311-LSC-GMB‬
                                 ‭)‬
  ‭JOHN WESTLEY ROGERS, JR.,‬ ‭)‬
               ‭Defendant.‬       ‭)‬

     ‭DEFENDANT’S MOTION FOR A MORE DEFINITE STATEMENT‬

       ‭COMES‬ ‭NOW,‬ ‭the‬ ‭defendant‬ ‭in‬ ‭the‬ ‭above-styled‬ ‭proceeding,‬ ‭JOHN‬

‭WESTLEY‬ ‭ROGERS,‬ ‭JR.‬‭,‬ ‭by‬ ‭and‬ ‭through‬‭his‬‭undersigned‬‭counsel,‬‭and‬‭moves‬

‭this‬‭Honorable‬‭Court‬‭to‬‭order‬‭the‬‭Government‬‭to‬‭provide‬‭a‬‭more‬‭definite‬‭statement‬

‭of‬ ‭the‬ ‭grounds‬‭for‬‭Count‬‭Twenty‬‭and‬‭Count‬‭Twenty-One‬‭of‬‭the‬‭Indictment‬‭in‬‭this‬

‭case. As grounds for this motion, the Defendant submits the following:‬

                                      ‭INTRODUCTION‬

       ‭The‬ ‭Indictment‬ ‭filed‬ ‭by‬ ‭the‬ ‭Government‬ ‭in‬ ‭this‬ ‭case,‬ ‭dated‬ ‭September‬ ‭27,‬

‭2023,‬‭charges‬‭the‬‭Defendant‬‭with‬‭Obstruction‬‭of‬‭Justice‬‭in‬‭violation‬‭of‬‭18‬‭U.S.C.‬‭§‬

‭1512(b)(3)‬ ‭and‬ ‭Obstruction‬ ‭of‬ ‭Justice‬ ‭by‬ ‭Bribery‬ ‭18‬ ‭U.S.C.‬ ‭§‬ ‭1510(a).‬ ‭The‬

‭Indictment‬ ‭lacks‬ ‭the‬ ‭necessary‬ ‭specificity‬ ‭to‬ ‭enable‬ ‭the‬ ‭Defendant‬ ‭to‬ ‭prepare‬ ‭a‬

‭proper‬ ‭defense.‬ ‭The‬ ‭Defendant‬ ‭respectfully‬ ‭requests‬ ‭that‬ ‭the‬ ‭Court‬ ‭order‬ ‭the‬

‭Government‬ ‭to‬ ‭provide‬ ‭a‬ ‭more‬ ‭definite‬‭statement‬‭of‬‭the‬‭charges‬‭in‬‭Count‬‭Twenty‬

‭and Count Twenty-One.‬

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                                            ‭LEGAL BASIS‬

        ‭Rule‬ ‭7(f)‬ ‭of‬ ‭the‬ ‭Federal‬ ‭Rules‬‭of‬‭Criminal‬‭Procedure‬‭allows‬‭a‬‭defendant‬‭to‬

‭request‬‭a‬‭more‬‭definite‬‭statement‬‭if‬‭the‬‭indictment‬‭"is‬‭so‬‭vague‬‭or‬‭ambiguous‬‭that‬

‭the‬ ‭defendant‬ ‭cannot‬ ‭reasonably‬ ‭prepare‬ ‭a‬ ‭defense."‬ ‭In‬ ‭this‬ ‭case,‬ ‭the‬ ‭Indictment‬

‭fails‬ ‭to‬ ‭provide‬ ‭sufficient‬ ‭details‬ ‭regarding‬ ‭the‬ ‭alleged‬ ‭actions,‬ ‭times,‬ ‭places,‬ ‭or‬

‭persons‬‭involved,‬‭making‬‭it‬‭impossible‬‭for‬‭the‬‭Defendant‬‭to‬‭adequately‬‭prepare‬‭his‬

‭defense.‬

                                   ‭SPECIFIC DEFICIENCIES‬

        ‭The‬ ‭Defendant‬ ‭specifically‬ ‭requests‬ ‭that‬ ‭the‬ ‭Government‬ ‭provide‬ ‭a‬ ‭more‬

‭definite statement addressing the following deficiencies in the Indictment:‬

        ‭a. Specify the dates on which the alleged offenses occurred.‬

        ‭b.‬ ‭Identify‬ ‭the‬ ‭exact‬ ‭location(s)‬ ‭where‬ ‭the‬ ‭alleged‬ ‭offenses‬ ‭took‬ ‭place,‬ ‭if‬

        ‭applicable.‬

        ‭c.‬ ‭Clarify‬ ‭the‬ ‭roles‬ ‭or‬ ‭actions‬ ‭attributed‬ ‭to‬ ‭the‬ ‭Defendant‬ ‭in‬ ‭relation‬ ‭to‬ ‭the‬

        ‭charges.‬

        ‭d.‬ ‭Provide‬ ‭the‬ ‭names‬ ‭and‬ ‭identities‬ ‭of‬ ‭any‬ ‭and‬ ‭all‬ ‭co-conspirators,‬

        ‭accomplices,‬ ‭individuals,‬ ‭and‬ ‭organizations‬ ‭involved,‬ ‭if‬ ‭applicable.‬

        ‭Specifically,‬ ‭the‬ ‭Defendant‬ ‭requests‬ ‭that‬ ‭the‬ ‭Government‬ ‭disclose‬ ‭the‬

        ‭identity of “Individual #1” and “Organization #1”.‬




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        ‭e.‬‭Detail‬‭any‬‭items,‬‭property,‬‭bribes,‬‭and/or‬‭exact‬‭amount‬‭of‬‭monetary‬‭funds‬

        ‭involved in the alleged offenses.‬

                                   ‭PREJUDICIAL EFFECT‬

        ‭The‬‭vague‬‭and‬‭ambiguous‬‭nature‬‭of‬‭the‬‭Indictment‬‭places‬‭the‬‭Defendant‬‭at‬‭a‬

‭significant‬ ‭disadvantage‬ ‭in‬ ‭preparing‬ ‭a‬ ‭defense,‬ ‭as‬ ‭the‬ ‭Defendant‬ ‭is‬ ‭unable‬ ‭to‬

‭discern‬‭the‬‭specific‬‭factual‬‭allegations‬‭against‬‭him.‬‭This‬‭lack‬‭of‬‭specificity‬‭violates‬

‭the‬ ‭Defentant’s‬ ‭due‬‭process‬‭rights‬‭and‬‭hinders‬‭his‬‭ability‬‭to‬‭effectively‬‭respond‬‭to‬

‭the charges.‬

                                          ‭CONCLUSION‬

        ‭In‬ ‭light‬ ‭of‬ ‭the‬ ‭deficiencies‬ ‭in‬ ‭the‬ ‭Indictment,‬ ‭the‬ ‭Defendant‬ ‭respectfully‬

‭requests‬ ‭that‬ ‭the‬ ‭Court‬‭order‬‭the‬‭government‬‭to‬‭provide‬‭a‬‭more‬‭definite‬‭statement‬

‭with‬ ‭the‬ ‭necessary‬ ‭details‬ ‭to‬ ‭enable‬ ‭the‬‭Defendant‬‭to‬‭prepare‬‭a‬‭proper‬‭defense.‬‭A‬

‭more‬ ‭definite‬ ‭statement‬ ‭is‬ ‭is‬ ‭essential‬ ‭to‬ ‭uphold‬ ‭the‬ ‭Defendant’s‬ ‭rights‬ ‭under‬ ‭the‬

‭Constitution and ensure a fair and just adjudication of this case.‬



        ‭Respectfully submitted on this, the 11th day of October, 2023.‬

                                                                 /‭s/‬‭John C. Robbins‬
                                                         ‭John C. Robbins, ASB-5635-i70j‬
                                                          ‭Attorney for the Defendant‬
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                                     ‭ ERTIFICATE OF SERVICE‬
                                     C
 ‭I‬ ‭hereby‬ ‭certify‬ ‭that‬ ‭I‬ ‭have‬ ‭served‬ ‭a‬ ‭copy‬ ‭of‬ ‭this‬ ‭motion‬ ‭upon‬ ‭the‬ ‭Office‬ ‭of‬ ‭the‬
  ‭United‬‭States‬‭Attorney‬‭by‬‭hand‬‭delivery‬‭and‬‭through‬‭the‬‭electronic‬‭filing‬‭system‬‭of‬
‭the Clerk of the District on the date and time affixed hereon.‬

                                                                        /‭s/‬‭John C. Robbins‬
                                                                      ‭John C. Robbins‬




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